     Case 6:21-cv-00003 Document 63-17 Filed on 02/05/21 in TXSD Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION


STATE OF TEXAS,
                                                  Civ. Action No. 6:20-cv-00003
               Plaintiff,

v.

The UNITED STATES OF AMERICA;
DAVID PEKOSKE, Acting Secretary of the
United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner of
U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official capacity;
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;          TRACY        RENAUD,
Senior Official Performing the Duties of the
Director of the U.S. Citizenship and
Immigration Services, in her official capacity;
U.S. CITIZENSHIP AND IMMIGRATION
SERVICES,

               Defendants.


                          APPENDIX IN SUPPORT OF
               TEXAS’S MOTION FOR A PRELIMINARY INJUNCTION




                            EXHIBIT 17
                                     GONE TO TEXAS
Case 6:21-cv-00003 Document 63-17 Filed on 02/05/21 in TXSD Page 2 of 2
